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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 THOMSON REUTERS ENTERPRISE                        )
 CENTRE GMBH and WEST PUBLISHING                   )
 CORPORATION,                                      )   C.A. No. 20-613-SB
                                                   )
                Plaintiffs/Counterdefendants,      )
                                                   )
        v.                                         )
                                                   )
 ROSS INTELLIGENCE INC.,                           )
                                                   )
                Defendant/Counterclaimant.         )

    ROSS INTELLIGENCE INC.’S MOTION FOR SUMMARY JUDGMENT AS TO
                   PLAINTIFFS’ COPYRIGHT CLAIMS

       Defendant and Counterclaimant ROSS Intelligence, Inc. respectfully moves, pursuant to

Federal Rule of Civil Procedure 56, for summary judgment in its favor and against Plaintiffs and

Counterdefendants Thomson Reuters Enterprise Centre GmbH and West Publishing Corporation

as to Plaintiffs’ copyright claims. The grounds in support of this motion are set forth in ROSS’s

accompanying brief.
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                                          Respectfully submitted,
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